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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    STRIKE 3 HOLDINGS, LLC,                             Case No. 18-cv-00083-SK
                                   8                   Plaintiff,
                                                                                            ORDER REGARDING REQUEST FOR
                                   9            v.                                          EXTENSION
                                  10    JOHN DOE SUBSCRIBER ASSIGNED IP
                                        ADDRESS 73.93.118.243,                              Regarding Docket No. 17
                                  11
                                                       Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The Court is in receipt of the Plaintiff’s Supplemental Briefing (Dkt. 19) and Notice of

                                  14   Settlement (Dkt. 20). Plaintiff’s Supplemental Brief did not make clear whether Plaintiff requires

                                  15   an extension to effectuate service on a defendant. (Dkt. 17.) In other words, does the Notice of

                                  16   Settlement refer to the action in its entirety or only to the Subscriber landlord? If Plaintiff needs

                                  17   an extension because the “infringing tenant” has not been identified and the settlement notification

                                  18   pertains only to the Subscriber landlord, please advise the Court by April 20, 2018. Otherwise, the

                                  19   Court will assume that the Request is moot.

                                  20          IT IS SO ORDERED.

                                  21   Dated: April 16, 2018

                                  22                                                     ______________________________________
                                                                                         SALLIE KIM
                                  23                                                     United States Magistrate Judge
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